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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

     UNITED STATES OF AMERICA

     v.

     MICHAEL T. FLYNN,                                    Criminal Action No. 17-232-EGS

     Defendant.




             MICHAEL FLYNN’S MOTION TO COMPEL AND RESPONSE TO
               COVINGTON & BURLING’S DISCOVERY CERTIFICATION

          Michael T. Flynn’s former counsel Covington & Burling LLP (“Covington”) was twice

ordered by this Court to search its records and to produce to its former client the documents to

which he is entitled, for use by successor counsel in continuing defense of this criminal case. It

has been almost a year since Mr. Flynn terminated Covington, and over nine months since this

Court issued its first Minute Order, on July 16, 2019.

          In that first Order, this Court emphasized Covington’s duty to promptly transfer the file

regarding Mr. Flynn’s case to successor counsel. On July 25, 2019, Covington certified to this

Court that its transfer of Mr. Flynn’s “case file” to new counsel was “complete,” and that its

transfer constituted “the entirety of the working case file shared by lawyers engaged on the matter.”

ECF No. 99-2 at 1. The new Flynn defense team took Covington at its word. After all, it provided

numerous hard drives and over a million pages of documents, including things like the rules for

the D.C. courts.

          Almost a year later, on April 9, 2020, Covington alerted Mr. Flynn’s current counsel that

it was transferring more documents, beginning with 30 new pages of production that it had

previously overlooked. ECF No. 177-2. This supplemental transfer—it was to be the first of three
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to date—included internal emails discussing case strategy and two pages of handwritten notes, one

of which is relevant to the crucial lawyer-client dispute that had arisen in the interim. That precise

dispute is the foundation for Mr. Flynn’s Supplemental Motion to Withdraw Guilty Plea. ECF No.

160-2.

         On April 28, 2020, Covington announced a second supplemental transfer of “overlooked”

documents. ECF No. 183-1. Remarkably, this second transfer contained 6,756 documents,

consisting of some 18,960 pages (calculated by Bates numbers). On the same day, April 28, 2020,

this Court sua sponte issued a further Minute Order, directing Covington to produce forthwith to

successor counsel “all documents or communications concerning the firm's representation of Mr.

Flynn that were not previously transferred in the rolling production” (emphasis added). The Court

gave Covington until noon on May 4, 2020, to file a Notice of Compliance that it had made the

instructed transfer.

         Finally, in what purported to be compliance with the April 28, 2020 Order, Covington

made a third supplement transfer of documents on May 2, 2020. The third tranche consisted of 75

pages in eight documents. Some were duplicate copies of material that Mr. Flynn’s counsel had

already seen, but with notations by Covington lawyers. There were also thirty-two pages of

handwritten notes that had not previously been produced. Then, on May 4, 2020, Covington filed

a Notice of “Compliance”—full of lame excuses and obfuscations for its unilateral determination

not to comply with this Court’s Order. ECF No. 192.

         Despite its purported compliance, Covington’s submission is rife with admissions that it

has not complied and will not comply with this Court’s Order. At worst, Covington is attempting

to convince this Court to accept compliance with an order that the Court did not issue. At best,




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Covington is seeking clarification of the Court’s actual order to excuse its non-compliance. There

are three chief areas of concern.

I.     COVINGTON’S INVOCATION OF RULES OF PROFESSIONAL CONDUCT, ETHICS OPINIONS,
       AND THE RESTATEMENT OF THE LAW GOVERNING LAWYERS ARE IRRELEVANT TO THIS
       COURT’S MINUTE ORDER.

       Covington pretends as if this Court had ordered production only of whatever the firm alone

chose to call its “client file.” Worse, Covington relied on what it said were “applicable authorities”

to justify its failure to produce materials that those authorities viewed as not encompassed within

that term. ECF No. 192 at 4. Ignoring the clear words of this Court’s order, Covington’s purported

“authorities” included the D.C. Rules of Professional Conduct and various interpretations and

applications of them, and certain sections of the Restatement of the Law Governing Lawyers.

       But that line of justification—which is quite the opposite of the “compliance” that this

Court ordered—is not responsive to this Court’s Minute Order of April 28, 2020 in any event.

First, this Court did not order production of Mr. Flynn’s “client file,” however Covington chose to

limit it. Nor did the Court order production of what Rule 1.16(d) of the D.C. Rules of Professional

Conduct requires counsel to surrender—"papers and property to which the client is entitled,” which

introduces yet another undefined term.

       Not only did this Court’s most recent Minute Order use specific and different language—

“all documents and communications concerning the representation”—but its operational thrust

was different. This Court did not command, in other words, “produce what you must produce in

order to avoid being charged with a disciplinary violation.” Nor did this Court order production

of what the American Law Institute proposed in §46(2) of THE RESTATEMENT (THIRD) OF THE LAW

GOVERNING LAWYERS (2000), which is “any document possessed by the lawyer relating to the

representation, unless substantial grounds exist to refuse,” although that language is closer to this




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Court’s actual language, and perhaps just as broad (which is harmful to Covington’s limited

production).

       In this context, Covington’s recitation of materials that it asserted it unilaterally was

entitled to exclude from the ordered production (because not encompassed within the its

designated “client file”), ECF No. 192 at 4-5, was not so much a straw man as it was non-

responsive. It is possible, of course, that when this Court ordered production of all documents and

communications concerning the law firm’s representation of Mr. Flynn, that it was willing to

exclude such things as "social calendars," emails about "staffing," or "case management policies."

It is even possible, although less likely, that this Court meant to exclude from the broad sweep of

its sua sponte Order “communications about billings and collections.”1

       But instead of seeking clarification from the Court on this and related points about the

scope of the Order, and seeking guidance on whether those and other materials must be produced,

Covington relied on irrelevant “authorities” and self-righteously proclaimed its self-interested

determination that it had complied.

       Moreover, beyond the categories of information that might be at the margins of what the

Court intended in its Minute Order, Covington balked at producing information that was well

within any plausible understanding of the Order, even according to Covington’s own self-

interested analysis. D.C. Ethics Op. 333 (2005), for example, on which Covington relied, stated




   1
     Covington was no doubt correct to point out that full compliance would be difficult or
impossible in some situations in which confidential information of other clients or prospective
clients might be at risk, ECF No. 192 at 4, but it did not bother to seek the Court’s guidance on
whether the material should be produced in camera or subject to a protective order, or whether
redaction of client-specific information would more readily solve the problem. Instead, Covington
took upon itself to justify non-compliance in a document that it titled Notice of Compliance—even
though there are significant redactions of informal purported to be unrelated matters in many of
the documents it did produce last year.

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that former counsel must produce “all material that the client or another attorney would reasonably

need to take over the representation of the matter, material substantively related to the

representation, and material reasonably necessary to protect or defend the client’s interests”

(emphasis added).

       As argued below, that is precisely the kind of material that Mr. Flynn has been seeking all

along, and indubitably what this Court ordered to be produced in its April 28, 2020 Minute Order.

It is that kind of material that will support Mr. Flynn’s ever increasingly powerful Motion to

Withdraw His Plea, which focuses on the actions and failures of Covington itself.

       This is not a minor squabble about legal fees or copying costs. This is a changing of the

guard in a criminal case in which the client’s life, liberty, and reputation are at stake. Moreover,

what began as a commonplace substitution of one set of counsel for another in ongoing litigation

has become fraught with more difficulty and more delicacy, because a significant lawyer-client

dispute has been added to the mix. That very dispute exists because of Covington’s self-interest—

a glaring ethical violation which its Notice of “Compliance” now itself evinces.

II.    COVINGTON HAD NO WARRANT TO LIMIT ITS PRODUCTION                     OF   DOCUMENTS     AND
       COMMUNICATIONS TO THOSE INVOLVING “KEY EMPLOYEES.”

       Faced with a broadly worded Minute Order issued sua sponte by this Court, Covington

objected that Mr. Flynn’s current counsel was imposing an obligation “to search for and produce

a wide range of documents significantly beyond the client file.” ECF No. 192 at 7. According to

Covington, “that would be a disproportionately burdensome e-discovery process of great scale and

duration.” Id.

       It seems self-evident that this Court intended to push beyond whatever Covington

unilaterally decided to denominate as “the client file.” Even if the precise scope of the Minute

Order were subject to legitimate debate, to solve its perceived difficulty, Covington once again



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failed to seek clarification from the Court. It simply decided and reset the boundaries itself. Then,

it touted its efforts as if that should suffice for substantially less than this Court ordered.

        In reality, Covington took it upon itself to “modify” the April 28, 2020 Minute Order—

this time by adopting the suggestion by a United States Magistrate Judge in another jurisdiction in

a civil discovery dispute that it “might” be helpful to limit an electronic word search to the files of

“key employees.” ECF No. 192 at 8. Covington then compounded its effrontery by failing even

to identify the lawyers it included in its new category.

        Moreover, in any circumstance, Mr. Flynn is entitled to all the notes, records,

communications, and phone records of all the partners who consulted or worked on his file—

whether billed to him or not. This includes the files of Eric Holder, Lanny Breuer, and Michael

Chertoff who are prominent partners in the white-collar practice of the law firm, who are

mentioned in the documents that Covington has already produced to Mr. Flynn’s current counsel.2

III.    COVINGTON IS NOT ENTITLED TO WITHHOLD DOCUMENTS AND COMMUNICATIONS ON
        THE BASIS OF ITS OWN ATTORNEY-CLIENT PRIVILEGE WITH IN-HOUSE LAWYERS.

        In its list of items that it regarded as “not part of the client file,” and thus not subject to this

Court’s production order (which made no mention of the client file), Covington included

“Covington lawyers’ privileged consultations with the firm’s internal counsel regarding ethical

and compliance obligations.” ECF No. 192 at 4. But in this jurisdiction, Covington is not entitled



   2
      Mr. Chertoff met with Mr. Flynn, is copied on many emails about the Flynn case, and he was
an active member of the defense team. Indeed, Mr. Chertoff was messaging firm lawyers in the
courtroom on December 18, 2018. Mr. Chertoff billed $24,194.50 to the Flynn file at rates ranging
from $1,250 per hour to $1,695 per hour, and there are multiple billing entries by “MF Team”
attorneys indicating additional work by Mr. Chertoff (not billed by Chertoff himself) on the Flynn
file. Consultations with Mr. Breuer are also mentioned at crucial times during the representation
(February, March, April, August and November of 2017). Mr. Holder appeared briefly at a client
conference, communicated about the firm’s representation of Mr. Flynn, and made Twitter posts
that were a significant problem for the defense and were discussed within the firm.



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to withhold material on the basis of that privilege—especially in this case which focuses on those

very issues.3

       If Covington did have any valid basis for withholding documents on the basis of privilege,

an additional filing is required because this claim arises out of a dispute between the law firm and

its former client—over ethical issues—and the consultation was with Covington’s in-house or

internal counsel about those issues.4 While in some circumstances, lawyers have the same right

as anyone else to consult with counsel, and the attorney-client privilege might attach to those

consultations in the ordinary way, without outside counsel, all Covington lawyers shared the same

fiduciary duty to Mr. Flynn.

       A firm cannot communicate on a privilege basis with other members of the firm when the

dispute concerns a firm client because the consulted lawyer presumptively has the same fiduciary

duties to the client as the consulting lawyer. See Nesse v. Pitman, 202 F.R.D. 344, 354-55 (D. DC

2001) (“A law firm's interest in protecting its otherwise privileged communications must yield to

the societal interest in assuring that before a lawyer takes action which may jeopardize a former

client's interest he seeks truly independent advice as to his ethical obligations”). And one of the

most important fiduciary duties that all lawyers owe to all clients is the duty of communication

and disclosure. Indeed, the “ordinary business of a law firm is defending its clients, not itself.”

Nesse, 202 F.R.D. at 349. Under the circumstances of this case, therefore, Covington should be




   3
     Even if Covington was entitled to withhold documents and communications created during
their representation of Mr. Flynn, it would need to provide a detailed privilege log.
   4
     Although Covington did not mention privileged consultations with outside counsel, it should
go without saying that if the firm or individual lawyers within the firm did consult with outside
counsel, communications that fit within this Court’s production order but were being withheld on
the basis of privilege would have to be accompanied by a separate privilege log.

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required to provide all those communications and notes—as well as an ordinary privilege log if

outside counsel was consulted.

IV.    CONCLUSION.

       Covington & Burling is no stranger to litigation. It regularly makes discovery requests of

adverse parties. While sifting through documents might not be pleasant, it is hardly unusual in

litigation. Here, the stakes are much higher than a civil case. The firm’s former client is alleging

that his freedom is at stake in many ways because of his former lawyers’ malfeasance and

misfeasance. Evidence of that will prove his right to withdraw his plea and correct an egregious

injustice he would not have suffered had he been represented by unconflicted counsel unafraid to

advocate zealously on his behalf.

       This Court should instruct Covington to complete its search and produce the records

encompassed with this Court’s mandate to provide new counsel with “all documents or

communications concerning the firm’s representation of Mr. Flynn....” April 28, 2020 Minute

Order. Moreover, Covington’s attribution of its belated production of 18,960 pages to some kind

of technical oversight strains credulity. This is one of the most important cases in the country’s

history. Because Covington has proven unreliable in collecting and producing documents itself,

the Court should require that the firm, at its own expense, provide current counsel for Mr. Flynn

with direct access to its e-discovery vendor so that Mr. Flynn can ensure accountability in the

collection and production process. The Court should also order such other relief as it deems just

and proper.

       Dated: May 6, 2020

                                              Respectfully submitted,

 /s/ Jesse R. Binnall                          /s/ Sidney Powell
 Jesse R. Binnall                              Sidney Powell


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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 6, 2020 a true and genuine copy of this Motion to Compel and

Response to Notice was served via electronic mail by the Court’s CM/ECF system to all counsel

of record, including:

       Timothy J. Shea, U.S. Attorney for the District of Columbia
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       It was served by email to the following:

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                                                       Respectfully submitted,

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